        Case 1:20-cv-04178-LDH-LB Document 33 Filed 11/05/21 Page 1 of 1 PageID #: 151
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                    Eastern District
                                                  __________         of of
                                                              District  New  York
                                                                           __________


                          Hitler Calle                             )
                             Plaintiff                             )
                                v.                                 )      Case No.   1:20-cv-04178-LDH-LB
               Pizza Palace Cafe LLC. et al.                       )
                            Defendant                              )

                                                      APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Plaintiff (s)                                                                                                        .


Date:          11/05/2021                                                                    /s/ Catalina Sojo
                                                                                             Attorney’s signature


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